              Case: 1:18-cr-00109-TSB Doc #: 78 Filed: 12/31/18 Page: 1 of 1 PAGEID #: 504
                                            o                                                ^
                                                                                                                     FILED
AO 442 (Rev 11/11) Arrest Waminl                                                                                RICHARD W NA'-EL
                                                                                                                                     UElOJk

                                         United States District Court 7018 jul 25 ph 3: Zk
                                                                                                              U.S. DISTRICT COURT
                                                          Southern District of Ohio                           SOUTHERN DiST OHIO
                                                                                                              WEST OIV CINCINNATI
                      United States of America
                                 V.

                                                                              Case No. 1:18-cr-00109(2)
                                                                                                                13^:      ET
                                                                                                                m      G2 •
                                                                                                                       cz: o '
                                                                                                                                     CD
                        SERGHEI VERLAN
                                                                                                                       -v . r n
                                                                                                                SffiC"               CD    Dc-jE "c;
                                                                                                                <xj-<                CO    Co?r.
                             Defendant                                                                          O^:'                 ~

                                                        ARREST WARRANT                                                               3:
                                                                                                                -4- _      (£)       —
                                                                                                                ?2:S7-
To:       Any authorized law enforcement officer                                                                ^S ~                 CD
                                                                                                                                 '   o:>

          YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name ofperson to he arrested)        SERGHEI VERLAN                                                                                                   ,
who is accused of an offense or violation based on the following document filed with the court;

^ Indictment               • Superseding Indictment          •Information        • Superseding Infonnation               •Complaint
•     Probation Violation Petition          • Supervised Release Violation Petition        • Violation Notice            • Order of the Court

This offense is briefly described as follows:

                                      18 U.S.C. § 1962(d) - Conspiracy to Participate in Racketeering Activity

                                                  [SEE ATTACHED INDICTMENT]




Date-         7/25/2018
                                                                                           Issuing officer's stgna


City and state:         CINCINNATI. OHIO                                    Richard W. Nagel, Clerk, U.S.
                                                                                             Printed name and title


                                                                   Return

          This warrant was received on (datep-              2.^"!^ . and the person was arrested on (date) 12.*
at (city and state)



Date:
                                                                                           Arresting officer's signature


                                                                                          C, fvA r 5 A
                                                                                              Printed name and title
